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                          UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF TEXAS
                                   Austin
                                  ________________ DIVISION
 IN RE: JOHN ANDREW GOODMAN


                                                                         Case No.: _________________
                                                                                    24-10806-SR-7

                                                                                   7
                                                                         Chapter: __________________



                                             ORDER

        BE IT REMEMBERED that there was presented to the Court the motion for Admission

                        R. Campbell Hillyer
 Pro Hac Vice filed by _______________________ (“Applicant”) and the Court, having

 reviewed the motion, has decided it is meritorious.

        ACCORDINGLY, IT IS ORDERED that the Motion for Admission Pro Hac Vice is

 GRANTED, and Applicant may appear on behalf of __________________ in the above case.
                                                       Fedex Supply Chain Logistics & Electronics, Inc.




        This order shall not be considered admission to practice generally before this Court or the

 U.S. District Court for the Western District of Texas.

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